                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


 UNITED STATES OF AMERICA,                            )
                                                      )
                        Plaintiff,                    )
                                                      )
 v.                                                   )          No. 3:07-CR-120
                                                      )          (Phillips / Guyton)
 ANGEL CONTRERAS,                                     )
                                                      )
                        Defendant.                    )


                                 MEMORANDUM AND ORDER


        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This matter is before the Court upon Defendant Angel Contreras’ Motion

 to Withdraw Motion for Detention Hearing [Doc. 95].

        Angel Contreras has been detained since his arrest in the Middle District of Tennessee on

 October 1, 2007. At the time of his initial appearance before this Court on October 11, 2007, the

 government moved for Mr. Contreras’ detention pending trial. Mr. Contreras requested a hearing

 and one was scheduled for October 17, 2007. On October 17, 2007, the Court conducted an

 arraignment on a Superseding Indictment [Doc. 39] issued the day before. [Doc. 40]. At that time,

 Mr. Contreras waived his right to a detention hearing, while reserving the right to request one at a

 later date. [Doc. 41]. On January 25, 2008, Mr. Contreras filed a Motion for Detention Hearing

 [Doc. 87], which was granted. Thereafter, Mr. Contreras retained counsel and prior counsel has

 been relieved. [Doc. 92]. Mr. Contreras’ new counsel has filed the instant Motion to Withdraw, as

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 to the request for a detention hearing filed in [Doc. 87], stating that Mr. Contreras has unresolved

 citizenship issues.

         Accordingly, Motion to Withdraw Motion for Detention Hearing [Doc. 95] is GRANTED.

 The Court finds that Mr. Contreras has waived a detention hearing at this time, but reserves his right

 to request one at a later date.

                 IT IS SO ORDERED.

                                                       ENTER:


                                                            s/ H. Bruce Guyton
                                                       United States Magistrate Judge




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